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Attorneys for Plaintiff




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                             MISSOULA DIVISION

 WESTERN HERITAGE INSURANCE
 COMPANY, an Arizona corporation,

                Plaintiff,
                                                    COMPLAINT FOR
          v.                                      DECLARATORY RELIEF

 SLOPESIDE CONDOMINIUM
 ASSOCIATION, INC., a Montana
 corporation, MATTHEW FOLKMAN,
 individually and d/b/a JARAS
 CONSTRUCTION,

                Defendants.


          Plaintiff Western Heritage Insurance Company (“Western Heritage”), by and

through its undersigned counsel, alleges as follows:

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                     I.     PARTIES, JURISDICTION, AND VENUE

          1.       This is a civil action between citizens of different states and the

amount in controversy exceeds $75,000, exclusive of costs and interest. This court

has diversity jurisdiction under 28 U.S.C. § 1332. Additionally, this court has

jurisdiction for providing declaratory relief under 28 U.S.C. § 2201.

          2.       Venue is proper in the District of Montana, Missoula Division, as the

Defendants are a Montana corporation and/or reside in Bigfork, Montana, and the

events giving rise to this dispute took place in Whitefish, Montana.

          3.       Plaintiff Western Heritage is an Arizona corporation with its principal

place of business in Scottsdale, Arizona.

          4.       Defendant Slopeside Condominium Association, Inc. (“Slopeside”) is

a Montana corporation.

          5.       Defendant Matthew Folkman d/b/a Jaras Construction is an individual

residing in Bigfork, Montana.

                            II.     FACTUAL ALLEGATIONS

A.        The Policy

          6.       Western Heritage issued Matthew Folkman d/b/a Jaras Construction

three Commercial General Liability insurance policies during the relevant times

leading to this action: (1) Policy Number SCP0886254, effective January 25, 2012

to January 25, 2013; (2) Policy Number CPS1878638, effective September 19,

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2013 to September 19, 2014; and (3) Policy Number CPS2091107, effective

January 25, 2014 to January 25, 2015 (collectively, the “Policies”). Policy, No.

SCP0886254, attached as Ex. A; Policy, No. CPS1878638, attached as Ex. B;

Policy, CPS2091107, attached as Ex. C.

          7.       As noted in their declarations pages, the Policies provided commercial

general liability coverage to named insured Matt Folkman, d/b/a Jaras

Construction, for Coverage A – Bodily Injury and Property Damage Liability.

          8.       The relevant portions of the Policies’ coverage grant for Coverage A

read as follows:

          SECTION I – COVERAGES
          COVERAGE A – BODILY INJURY AND PROPERTY
          DAMAGE LIABILITY

          1.       Insuring Agreement
                   a.    We will pay those sums that the insured becomes legally
                         obligated to pay as damages because of “bodily injury”
                         or “property damage” to which this insurance applies.
                         We will have the right and duty to defend the insured
                         against any “suit” seeking those damages. However, we
                         will have no duty to defend the insured against any “suit”
                         seeking damages for “bodily injury” or “property
                         damage” to which this insurance does not apply. We
                         may, at our discretion, investigate any “occurrence” and
                         settle any claim or “suit” that may result. But:
                         (1) The amount we will pay for damages is limited as
                                described in Section III – Limits Of Insurance; and
                         (2) Our right and duty to defend ends when we have
                                used up the applicable limit of insurance in the
                                payment of judgments or settlements under
                                Coverages A or B or medical expenses under
                                Coverage C.
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                   No other obligation or liability to pay sums or perform acts or
                   services is covered unless explicitly provided for under
                   Supplementary Payments – Coverages A and B.
          b.       This insurance applies to “bodily injury” and “property
                   damage” only if:
                          (1) The “bodily injury” or “property damage” is
                                 caused by an “occurrence” that takes place in the
                                 “coverage territory”;
                          (2) The “bodily injury” or “property damage” occurs
                                 during the policy period; and
                          (3) Prior to the policy period, no insured listed under
                                 Paragraph 1. of Section II – Who Is An Insured
                                 and no “employee” authorized by you to give or
                                 receive notice of an “occurrence” or claim, knew
                                 that the “bodily injury” or “property damage” had
                                 occurred, in whole or in part. If such a listed
                                 insured or authorized “employee” knew, prior to
                                 the policy period, that the “bodily injury” or
                                 “property damage” occurred, then any
                                 continuation, change or resumption of such
                                 “bodily injury” or “property damage” during or
                                 after the policy period will be deemed to have been
                                 known prior to the policy period.

          Ex. A, Policy No. SCP0886254, Form CG 00 01 12 07 at 1.

          9.       Coverage A requires the Insured to perform the following duties in the

event of an occurrence, offense, claim or suit:

          SECTION IV – COMMERCIAL GENERAL LIABILITY
          CONDITIONS

                                           •   •   •

          2.       Duties In The Event Of Occurrence, Offense, Claim Or Suit
                   a.    You must see to it that we are notified as soon as
                         practicable of an “occurrence” or an offense which may
                         result in a claim. To the extent possible, notice should
                         include:
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                         (1)     How, when and where the “occurrence” or offense
                                 took place;
                         (2) The names and addresses of any injured persons
                                 and witnesses; and
                         (3) The nature and location of any injury or damage
                                 arising out of the “occurrence” or offense.
                   b.    If a claim is made or “suit” is brought against any
                         insured, you must:
                         (1) Immediately record the specifics of the claim or
                                 “suit” and the date received; and
                         (2) Notify us as soon as practicable.
                         You must see to it that we receive written notice of the
                         claim or “suit” as soon as practicable.
                   c.    You and any other involved insured must:
                         (1) Immediately send us copies of any demands,
                                 notices, summonses or legal papers received in
                                 connection with the claim or “suit”;
                         (2) Authorize us to obtain records and other
                                 information;
                         (3) Cooperate with us in the investigation or
                                 settlement of the claim or defense against the
                                 “suit”; and
                         (4) Assist us, upon our request, in the enforcement of
                                 any right against any person or organization which
                                 may be liable to the insured because of injury or
                                 damage to which this insurance may also apply.
                   d.    No insured will, except at that insured’s own cost,
                         voluntarily make a payment, assume any obligation, or
                         incur any expense, other than for first aid, without our
                         consent.

          Ex. A, Policy No. SCP0886254, Form CG 00 01 12 07 at 10-11.

          10.      The Policies include the following relevant definitions:

          SECTION V – DEFINITIONS

                                           •    •   •

          8.       “Impaired property” means tangible property, other than “your
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                product” or “your work”, that cannot be used or is less useful
                because:
                a.     It incorporates “your product” or “your work” that is
                       known or thought to be defective, deficient, inadequate
                       or dangerous; or
                b.     You have failed to fulfill the terms of a contract or
                       agreement;
                if such property can be restored to use by the repair,
                replacement, adjustment or removal of “your product” or “your
                work” or your fulfilling the terms of the contract or agreement.

                                        •   •   •

          13.   “Occurrence” means an accident, including continuous or
                repeated exposure to substantially the same general harmful
                conditions.

                                        •   •   •

          16.   “Products-completed operations hazard”:
                a.    Includes all “bodily injury” and “property damage”
                      occurring away from premises you own or rent and
                      arising out of “your product” or “your work” except:
                      (1) Products that are still in your physical possession;
                             or
                      (2) Work that has not yet been completed or
                             abandoned. However, “your work” will be
                             deemed completed at the earliest of the following
                             times:
                             (a) When all of the work called for in your
                                    contract has been completed.
                             (b) When all of the work to be done at the job
                                    site has been completed if your contract
                                    calls for work at more than one job site.
                             (c) When that part of the work done at a job site
                                    has been put to its intended use by any
                                    person or organization other than another
                                    contractor or subcontractor working on the
                                    same project.
                             Work that may need service, maintenance,
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                             correction, repair or replacement, but which is
                             otherwise complete, will be treated as completed.
          17.   “Property damage” means:
                a.    Physical injury to tangible property, including all
                      resulting loss of use of that property. All such loss of use
                      shall be deemed to occur at the time of the physical
                      injury that caused it; or
                b.    Loss of use of tangible property that is not physical
                      injured. All such loss of use shall be deemed to occur at
                      the time of the “occurrence” that caused it.

                                         •   •   •

          21.   “Your product”:
                a.   Means:
                     (1) Any goods or products, other than real property,
                           manufactured, sold, handled, distributed or
                           disposed of by:
                           (a) You;
                           (b) Others trading under your name; or
                           (c) A person or organization whose business or
                                   assets you have acquired; and
                     (2) Containers (other than vehicles), materials, parts or
                           equipment furnished in connection with such
                           goods or products.
                b.   Includes:
                     (1) Warranties or representations made at any time
                           with respect to the fitness, quality, durability,
                           performance or use of “your product”; and
                     (2) The providing of or failure to provide warnings or
                           instructions.
                c.   Does not include vending machines or other property
                     rented to or located for the use of others but not sold.
          22.   “Your work”:
                a.   Means:
                     (1) Work or operations performed by you or on your
                           behalf; and
                     (2) Materials, parts or equipment furnished in
                           connection with such work or operations.

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                   b.    Includes:
                         (1) Warranties or representations made at any time
                               with respect to the fitness, quality, durability,
                               performance or use of “your work”; and
                         (2) The providing of or failure to provide warnings or
                               instructions.

          Ex. A, Policy No. SCP0886254, Form CG 00 01 12 07 at 12-16

(emphasis added in bold & italics).

          11.      Coverage A contains, in pertinent part, the following limitation

regarding attorneys’ fees:

          SUPPLEMENTARY PAYMENTS – COVERAGES A AND B

          1.       We will pay, with respect to any claim we investigate or settle,
                   or any “suit” against an insured we defend:

                                           •    •   •

                   e.    All court costs taxed against the insured in the “suit”.
                         However, these payments do not include attorneys’ fees
                         or attorneys’ expenses taxed against the insured.

          Ex. A, Policy No. SCP0886254, Form CG 00 01 12 07 at 8 (emphasis

added in bold & italics).

          12.      Coverage A contains, in pertinent part, Exclusion “k” – Damage to

Your Product, Exclusion “l” – Damage to Your Work, and Exclusion “m” –

Damage To Impaired Property Or Property Not Physically Injured, which states as

follows:

          2.       Exclusions
                   This insurance does not apply to:
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                k.    Damage To Your Product
                      “Property damage” to “your product” arising out of it or
                      any part of it.
                l.    Damage To Your Work
                      “Property damage” to “your work” arising out of it or
                      any part of it and included in the “products-completed
                      operations hazard.”
                      This exclusion does not apply if the damaged work or the
                      work out of which the damage arises was performed on
                      your behalf by a subcontractor.
                m.    Damage To Impaired Property Or Property Not
                      Physically Injured
                      “Property damage” to “impaired property” or property
                      that has not been physically injured, arising out of:
                      (1) A defect, deficiency, inadequacy or dangerous
                             condition in “your product” or “your work”; or
                      (2) A delay or failure by you or anyone acting on your
                             behalf to perform a contract or agreement in
                             accordance with its terms.
                      This exclusion does not apply to the loss of use of other
                      property arising out of sudden and accidental physical
                      injury to “your product” or “your work” after it has been
                      put to its intended use.

          Ex. A, Policy No. SCP0886254, Form CG 00 01 12 07 at 2, 5.

B.        The Subcontract Agreement, Civil Complaint and Summary Judgment

          13.   Western Heritage is informed and believes, and based thereon alleges,

that Matthew Folkman (“Folkman”) performed the subject work personally,

without the use of subcontractors, under the trade name, Jaras Construction.

          14.   On September 29, 2011, Folkman entered into a Subcontract

Agreement (the “Agreement”) with Slopeside to install a thermal tech “T-Panel”

system (the “System”) on Slopeside’s roofs, which was meant to melt snow/ice.
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The Agreement included a ten-year limited warranty. Compl. Breach Contract;

Common Counts, Nov. 16, 2016 (“Underlying Compl.”), Ex. A: Subcontract Agt.,

Sept. 29, 2011, attached as Ex. D. On January 30, 2012, a Certificate of Liability

Insurance identifying Jaras Construction, Matt Folkman, DBA, as an insured, and

Slopeside Owners Association, as a certificate holder, was issued.

          15.   After Folkman installed the System, Slopeside’s counsel, Michael

Ferrington (“Ferrington”), made various attempts to contact Folkman, via emails,

letters and telephone calls, to perform repairs under the warranty. Folkman

allegedly never responded to Ferrington.

          16.   Since Folkman allegedly never responded, Slopeside hired another

contractor and filed a Complaint against Folkman in Montana Eleventh Judicial

District Court, Flathead County, cause number DV-16-963(a), on November 16,

2016 (the “Underlying Action”). Underlying Compl.

          17.   Folkman filed in the Underlying Action an Answer on January 6,

2017, in which he admitted to entering into the Agreement with Slopeside, but

denied that he breached the written contract or warranty.

          18.   On February 28, 2017, Slopeside sought discovery in the Underlying

Action in the form of Interrogatories, Requests for Production and Requests for

Admission. Folkman allegedly did not respond to these discovery requests.

          19.   On March 21, 2017, Folkman’s counsel, Benjamin Hammer

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(“Hammer”), filed in the Underlying Action an Unopposed Motion to Withdraw as

Counsel, which was granted on March 23, 2017.

          20.   After Hammer withdrew as counsel, Folkman was sent two Montana

Rule of Civil Procedure Rule 10 Notices, on March 30, 2017 and April 13, 2017,

informing him of pending discovery requests and that he was required to appoint

another attorney or appear in person for further matters related to the Underlying

Action, and that if he did not, the action would proceed and could result in a

judgment against him.

          21.   On June 12, 2017, Slopeside filed in the Underlying Action a Notice

of Matters Deemed Admitted based on Folkman’s alleged failure to respond to

discovery requests, which was granted.

          22.   On June 24, 2017, Slopeside filed in the Underlying Action a Motion

for Summary Judgment seeking damages in the amount of $441,770.83, based on

the pleadings and affidavits in support of its motion, including the matters deemed

admitted. Western Heritage is informed and believes, and based thereon alleges,

that Slopeside seeks damages in excess of $75,000. Underlying Action: Mot.

Summ. J.; Br. Support, June 24, 2017 (“Mot. Summ. J.”); Aff. Support Pl.’s Mot.

Summ. J. (Leslee (Joey) Meyer), July 5, 2017 (“Aff. Meyer”), attached as Ex. F;

Aff. Support Pl.’s Mot. Summ. J. (Michael A. Ferrington), July 18, 2017 (“Aff.

Ferrington”), attached as Ex. G.

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          23.   Slopeside’s Motion for Summary Judgment included affidavits from

Ferrington and Slopeside’s manager, Joey Meyer (“Meyer”), in support of its

analysis of attorney’s fees and damages. In his affidavit, Meyer attached exhibits

which purported to show the repairs required to be performed to the System as a

result of Folkman’s alleged defective installation. Aff. Ferrington ¶ 4; Aff. Meyer

¶¶ 2-4, Exs. A-C.

          24.   Only July 21, 2017, Ferrington sent Western Heritage and its coverage

counsel, Selman Breitman LLP, a letter informing them of this case and attached a

copy of the Motion for Summary Judgment. Ferrington’s July 21, 2017 letter was

the first notice Western Heritage had of this action. Prior to this notice, Western

Heritage could not investigate, locate witnesses, appoint counsel, engage in

discovery, negotiate a settlement, develop a trial strategy or timely oppose the

Summary Judgment Motion.

          25.   At no time did Folkman tender this claim to Western Heritage, seek a

defense, or in any way inform Western Heritage of Slopeside’s claim. Western

Heritage has also only recently been able to contact Folkman for assistance, as

required under the Policies.

          26.   The deadline for Western Heritage to respond to Slopeside’s Motion

for Summary Judgement was July 18, 2017, which lapsed prior to Western

Heritage’s being informed of the Underlying Action.

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          27.   On July 31, 2017, the court granted Slopeside’s Motion for Summary

Judgment, including the damages requested. Judgment was entered. Underlying

Action: Order & Rationale & Final J. Pl.’s Mot. Summ. J., July 231, 2017 (“J.”),

attached as Ex. H; Notice Entry J., Aug. 4, 2017, attached as Ex. I.

          28.   On September 19, 2017, Western Heritage sent Folkman a

Reservations of Rights letter detailing Western Heritage’s coverage position, and

informing him that Western Heritage is seeking to set aside the judgment and

would be providing him a defense, to the extent possible, under a reservation of

rights. Western Heritage specifically reserved its rights to seek reimbursement of

defense costs with respect to the Underlying Action. Western Heritage assigned

Folkman the following defense counsel:

                                      Bob Pfennigs
               Jardine, Stephenson, Blewett & Weaver, P.C. (Jardine Law)
                Mailing Address: P.O. Box 2269, Great Falls, MT 59403
          Office Location: 300 Central Ave., 7th Floor, Great Falls, MT 59401
                               Telephone: (406) 727-5000
                            Email: bpfennigs@jardinelaw.com

          Ltr. from Alan B. Yuter, on behalf of Western Heritage, to Matthew

Folkham (Sept. 19, 2017), attached as Ex. J.

          29.   On September 27, 2017, Western Heritage was informed that

Slopeside had substituted counsel from Ferrington to Sean Frampton (“Frampton”)

of the Frampton Purdy Law Firm. In Frampton’s correspondence, he indicated he

was not interested in seeking to set aside the judgment unless Western Heritage
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was waiving all coverage defenses.

C.        The Policies’ Limitations and Exclusions

          30.   When Folkman first became aware of the Underlying Action, he was

required, under the Policies, to inform Western Heritage. Folkman’s lack of notice

was in breach of his duties under the “Duties In The Event of Occurrence,

Offense, Claim Or Suit” provision of the Policies, and has materially prejudiced

Western Heritage’s handling of the Underlying Action. Ex. A, Policy No.

SCP0886254, Form CG 00 01 12 07 at 10-11.

          31.   Slopeside’s Underlying Complaint sought damages for attorneys’ fees

and expenses, which were awarded in the Judgment. Underlying Compl. 4; J. ¶ 2.

However, as detailed above, the Policies’ “Supplementary Payments” provision

of the policy clearly excludes coverage for attorneys’ fees or attorneys’ expenses.

Ex. A, Policy No. SCP0886254, Form CG 00 01 12 07 at 8.

          32.   In the Underlying Complaint and the affidavits Slopeside filed in

conjunction with its Motion for Summary Judgment, the damages listed included

damages which may have occurred outside of the Policies’ policy periods.

Therefore, as detailed above, the Policies provide no coverage for alleged damage

that occurred outside of the policy periods, including future damage.

          33.   In the Underlying Complaint and the affidavits Slopeside filed in

conjunction with its Motion for Summary Judgment, most, if not all, of the

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damages alleged are not considered “property damage,” as defined in the Policies.

Therefore, the Policies provide no coverage for alleged damage that does not meet

the definition of “property damage” or any other covered damage.

          34.   In the Underlying Complaint and the affidavits Slopeside filed in

conjunction with its Motion for Summary Judgment, much of the damages asserted

stem from the alleged defective installation of the System. Most, if not all, of these

damages meet the Policies’ definition of “your product” and are thus excluded

from coverage under Exclusion “k” – Damage To Your Work. Ex. A, Policy No.

SCP0886254, Form CG 00 01 12 07 at 5.

          35.   In the Underlying Complaint and the affidavits Slopeside filed in

conjunction with its Motion for Summary Judgment, much of the damages asserted

arose from Folkman’s alleged defective work which occurred after the work was

completed. Most, if not all, of these damages meet the Policies’ definition of “your

work” and are thus excluded from coverage under Exclusion “l” – Damage To

Your Work. Ex. A, Policy No. SCP0886254, Form CG 00 01 12 07 at 5.

          36.   In the Underlying Complaint and the affidavits of Slopeside filed in

conjunction with its Motion for Summary Judgment, much of the damages asserted

arose from Folkman’s alleged defective work or product which allegedly caused

“property damage” to “impaired property” or arose out of Folkman’s alleged

failure to perform his contract and are thus excluded from coverage under

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Exclusion “m” – Damage To Impaired Property Or Property Not Physically

Injured. Ex. A, Policy No. SCP0886254, Form CG 00 01 12 07 at 5.

                                 III.    COUNT I
                   (For Declaratory Relief, Against All Defendants)

          37.   Western Heritage realleges and incorporates by reference all

preceding Paragraphs above, in their entirety, as though fully set forth here.

          38.   Western Heritage has no duty to defend or indemnify in the

Underlying Action because Folkman’s lack of notice has materially prejudiced

Western Heritage’s handling of the Underlying Action.

          39.   Western Heritage is informed and believes, and based thereon alleges,

that some or all of the Defendants dispute Western Heritage’s contentions.

          40.   As such, an actual controversy exists that requires a judicial

declaration to determine the respective rights and obligations of the parties.

                                 IV.    COUNT II
                   (For Declaratory Relief, Against All Defendants)

          41.   Western Heritage realleges and incorporates by reference all

preceding Paragraphs above, in their entirety, as though fully set forth here.

          42.   Western Heritage has no duty to defend or indemnify in the

Underlying Action, in whole or in part, because the damages alleged are not

covered for the reasons set forth above.

          43.   Western Heritage has no duty to defend or indemnify, in whole or in

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part, because the damages alleged are excluded from coverage for the reasons set

forth above.

          44.   Western Heritage is informed and believes, and based thereon alleges,

that some or all of the Defendants dispute Western Heritage’s contentions.

          45.   As such, an actual controversy exists that requires a judicial

declaration to determine the respective rights and obligations of the parties.

                            V.       PRAYER FOR RELIEF

          1.    On Counts I and II, for Declaratory Relief, for a judicial declaration

that Western Heritage has no duty to defend or indemnify, in whole or in part, in

connection with the Underlying Action.

          2.    For costs of suit;

          3.    For reimbursement of its defense costs, including attorney’s fees, paid

to defend the Underlying Action;

          4.    For pre-judgment and post-judgment interest; and

          5.    For such other relief as the Court deems just and proper.

          DATED this 20th day of November, 2017.

                                       /s/ Bradley J. Luck
                                     Attorneys for Plaintiff




2360344                                                                                  17
